           Case 5:17-cv-01415-AB-KK Document 354 Filed 02/24/20 Page 1 of 4 Page ID #:15495


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                 STORES, INC. and WAL-MART
          15     ASSOCIATES, INC.
          16                            UNITED STATES DISTRICT COURT
          17                           CENTRAL DISTRICT OF CALIFORNIA
          18     CHELSEA HAMILTON, individually             CASE NO. 5:17-cv-01415-AB
                 and on behalf of all others similarly
          19     situated, and ALYSSA HERNANDEZ,            DEFENDANTS WALMART STORES
                 individually and on behalf of all others   INC.’S AND WALMART ASSOCIATES
          20     similarly situated;                        INC.’S NOTICE OF APPEAL TO THE
                                                            UNITED STATES COURT OF
          21                        Plaintiffs,             APPEALS FOR THE NINTH CIRCUIT
          22           v.
          23     WAL-MART STORES, INC., a
                 corporation, WAL-MART
          24     ASSOCIATES, INC., a corporation and
                 DOES 1 through 50, inclusive,
          25
                                    Defendants.
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Gibson, Dunn &
Crutcher LLP

                                            WALMART’S NOTICE OF APPEAL
           Case 5:17-cv-01415-AB-KK Document 354 Filed 02/24/20 Page 2 of 4 Page ID #:15496


            1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            2          NOTICE IS HEREBY GIVEN that Defendant Walmart Stores, Inc. and
            3    Defendant Walmart Associates, Inc. (collectively, “Walmart”) hereby appeal to the
            4    United States Court of Appeals for the Ninth Circuit from the Order Denying
            5    Defendants’ Motion for Judgment as a Matter of Law (Dkt. 350), entered in this Court
            6    on February 11, 2020; the Judgment (Dkt. 323), entered in this Court on September 4,
            7    2019; and all other orders and rulings of the Court that were adverse to Walmart, whether
            8    or not subsumed in the February 11, 2020 Order and the September 4, 2019 Judgment.
            9
          10     Dated: February 24, 2020               Respectfully submitted,
          11
                                                        GIBSON, DUNN & CRUTCHER LLP
          12
          13                                            By: /s/       Theane D. Evangelis
                                                                      Theane D. Evangelis
          14
                                                        Attorneys for Defendants WAL-MART
          15                                            STORES, INC. and WAL-MART
                                                        ASSOCIATES, INC.
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Crutcher LLP                                                2
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           Case 5:17-cv-01415-AB-KK Document 354 Filed 02/24/20 Page 3 of 4 Page ID #:15497


            1                           REPRESENTATION STATEMENT
                                            Ninth Circuit Rule 3-2(b)
            2
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           Case 5:17-cv-01415-AB-KK Document 354 Filed 02/24/20 Page 4 of 4 Page ID #:15498


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Crutcher LLP                                            4
                                            WALMART’S NOTICE OF APPEAL
